Jan Hamilton #08163
Chapter 13 Trustee
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(785) 234-1551
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                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS
IN RE:

JILL ANNETTE REITER,                                         CASE NO.: 14-40074-13

                      Debtor.

    SUPPLEMENT TO TRUSTEE’S MOTION TO REQUIRE ROY UPSHAW TO POST A BOND TO
   PROTECT THE BANKRUPTCY ESTATE AND DEBTOR’S ABILITY TO COMPLETE THE PLAN
   COMES NOW, Jan Hamilton, Chapter 13 Trustee (hereafter “Trustee”) and supplements his

Motion to Require Roy Upshaw to Post a Bond to Protect the Bankruptcy Estate and Debtor’s

Ability to Complete the Plan, Doc. 233, as follows:

   1. In Paragraph 19 of the Trustee’s Motion, the Trustee misapplied 11 U.S.C. 1305. This is

       available only to consumer creditors, not business.

   2. In Paragraph 24(a) of the Trustee’s Motion, Trustee indicated that Upshaw did not file his

       exhibit lists with the court and did not provide exhibits to the parties. That statement was

       in error. Counsel for Upshaw did provide a witness and exhibit list to the parties via

       email on August 15, 2018. Trustee extends his apologies to the court and counsel.

WHEREFORE, the Trustee requests that the Court consider this Supplement as fully

incorporated in and correcting his Motion, Doc. 233, filed February 15, 2018.

                                                      Submitted by:




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                                                    s/ Jan Hamilton
                                                    Jan Hamilton #08163, Chapter 13 Trustee
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                                    CERTIFICATE OF SERVICE

       I certify that I electronically filed the Chapter 13 Trustee’s Supplement to Motion with
the Court via the CM/ECF system, which notices all interested parties using the CM/ECF
system. I have also mailed this pleading first class, to the following on this date: February 26,
2018.

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                                            Respectfully submitted,


                                            s/ Teresa L. Arnold
                                            Teresa L. Arnold #21586




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